Case: 4:24-cv-00056-RLW Doc. #: 6-14 Filed: 01/10/24 Page 54 23224CC09642

» EXHIBIT

HARRIS-STOWE STATE UNIVERSITY
BOARD RECOMMENDATION

April 23, 2021

To: Members of the Harris-Stowe State University Board of Regents

Subject:

Recommendation to Authorize the Execution of the Memorandum of Understanding

Between HSSU and NEA to Amend Collective Bargaining Agreement

Meeting Date: April 27, 2021

Recommendation:

For the authorization to execute of the Memorandum of Understanding Between HSSU-National
Education Association and Harris-Stowe State University (MOU), which amends the current collective
bargaining agreement between the HSSU-NEA and the University by extending the duration of the
agreement to June 30, 2022 and provides for faculty salary increases effective Fall 2021. In keeping with
the Board of Regents’ role as a governing body, this MOU is now being submitted for Board approval.

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Dr. Lafonia Collins Smith C) Dat
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Approved LPI 7. Gs : [
Dr. Corey S. Bradford, Sr. © Date
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5/13/2021
Approved:
Date

Atty. Ronald Norwood, Chair
Board of Regents
